Case: 13-1908 Document: 003111225430 Page: 1 Date Filed: 04/11/2013
UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

 

CONCISE SUMMARY OF THE CASE

Pursuant to 3" Cir. LAR 33.3, counsel are required to file a concise summary of the case
within 14 days of the date of docketing of the Notice of Appeal. Total statement is limited to no more than 2

pages, single-spaced. Counsel may utilize this form or attach a 2 page statement encompassing the information
required by this form.

SHORT
CAPTION: Maria Mahmood v. National Board of Medical Examiners
USCA NO.: 13-1908

LOWER COURT or AGENCY and DOCKET NUMBER:
Eastem District of Pennsyivania, Civil Action No. 12-01544

NAME OF
JUDGE; Timothy R. Rice

Specify who is suing whom, for what, and the subject of this action. Identify (1) the nature of the action; (2) the
parties to this appeal; (3) the amount in controversy or other relief involved; and (4) the judgment or other
action in the lower court or agency from which this action is taken:

Civil action by Maria Mahmood against National Board of Medical Examiners (NBME) under the Americans with Disabilities Act, 42

U.S.C. Section 12101 et. seq. seeking equitable relief. Plaintiff Maria Mahmood appeals from an order of Summary Judgment in
favor of the defendant.

LIST and ATTACH a copy of each order, judgment, decision or opinion which is involved in this appeal. If the
order(s) or opinion(s) being appealed adopt, affirm, or otherwise refer to the report and recommendation of a

magistrate judge or the decision of a bankruptcy judge, the report and recommendation or decision shall also be
attached.

See attached Orders of June 21, 2012, October 31, 2012, February 14, 2013, and two Orders of February 15, 2013, Amended Order
of February 21, 2012 and the Memorandum Opinions of October 31, 2012 and February 14, 2013.
Case: 13-1908 Document: 0031112254380 Page:2 Date Filed: 04/11/2013
CONCISE SUMMARY OF THE CASE (cont.)

Provide a short statement of the factual and procedural background which you consider important to this appeal:

See attached.

Identify the issues to be raised on appeal:

Whether the District Court erred in dismissing Appellant's pattern of failure to accommodate claim where Plaintiff's allegations
supported numerous occasions of disadvantage to Plaintiff due to failure to accommodate?

Whether the District Court erred in granting summary judgment to NBME on the basis of impossibility of accommodation where
NBME's failure to accommodate had already occurred and ‘impossibility’ for future accommodations was within NBME's control?

This is to certify that this Concise Summary of the Case was electronically filed with the Clerk of the U.S. Court
of Appeals for the Third Cirguit and a copy hereof served to each party or their counsel of record

 
